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                                                                ERIN E. JONES | PARTNER
                                                              602 Sawyer St. Suite 400, Houston, TX 77007
                                                                Main: 832-529-1999 | Direct: 832-529-1582
                                                                                    erin@jonesmurray.com




June 14, 2023
Via Electronic Mail
Christopher Murray, Chapter 7 Trustee
602 Sawyer Street, Suite 400
Houston, Texas 77007
chris@jonesmurray.com

       Re: Engagement Agreement to Serve as General Bankruptcy Co-Counsel to
           Chapter 7 Trustee for the Alexander E. Jones Bankruptcy Estate

Dear Mr. Murray,

       Thank you for engaging Jones Murray LLP (“Jones Murray” or “Firm”) to represent you
in your capacity as the chapter 7 trustee (“Trustee”) for the bankruptcy estate (“Estate”) of
Alexander E. Jones, Case No. 22-33553 (“Jones Bankruptcy”), currently pending in the United
States Bankruptcy Court for the Southern District of Texas (“Court”). This letter sets out the
proposed terms of our retention as legal counsel. Please review carefully and sign at the bottom to
confirm our agreement.

       Court Approval Required. This engagement is subject in all respects to Court approval and
authorization. Any compensation and reimbursement of expenses is subject to fee application and
Court approval under 11 U.S.C. §§330 and 331.

        Scope of Engagement. Jones Murray will serve as general bankruptcy co-counsel to you as
Trustee for the Estate, effective as of June 14, 2024. We anticipate this will include representation
of the Trustee, as requested, in matters relating to the administration of the Estate, including but
not limited to, contested matters and adversary proceedings in the Jones Bankruptcy, matters
retained by the Court in Case No. 22-60043 (In re Free Speech Systems LLC)(“FSS Bankruptcy”),
matters pending in other federal or state courts. Jones Murray will represent the Trustee in matters
relating to the administration of the Estate as you deem appropriate and under your supervision
and direction. Where possible, the Firm will make all reasonable efforts to avoid duplication of
work or services performed by other professionals employed by you in these matters. The Firm is
not acting as general counsel for purposes of providing specialized tax advice, but the Firm may
represent the Trustee, as needed, with respect to tax claims asserted against the Estate or its
property in connection with the Jones Bankruptcy and/or the FSS Bankruptcy. Nothing herein
prevents the Trustee from hiring separate or special counsel to represent him in any tax matter, as
the Trustee deems appropriate.

        Legal Fees, Costs, and Invoicing. Jones Murray charges by the hour for our services unless
otherwise agreed. I will be the primary lawyer and attorney responsible for this matter. My rate for
this matter is $750 per hour. Jacqueline Q. Chiba will also provide services as an attorney at the
rate of $495 per hour. You may also provide legal services to the Estate in your capacity as an
attorney and a partner at Jones Murray at a rate of $750 per hour.
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       Jones Murray’s paralegals may provide services at an hourly rate between $95 and $200
per hour depending on experience. While I do not anticipate that any other attorneys or
paraprofessionals will be staffed to this matter, Jones Murray may need to call on such personnel
from time to time to properly represent you in this matter.

       Jones Murray will not, however, invoice the Estate for your work performed in your
capacity as Trustee and for services traditionally rendered by a trustee. We will provide
informational invoices, usually monthly, for any fees and expenses incurred on your behalf.

        Jones Murray reviews and updates its hourly rates from time to time, typically on an annual
basis. The Firm will seek Court approval of any rate changes in this case.

       Termination of the Engagement. Termination is subject to Court approval. You may seek
termination at any time. We may also seek termination, subject to reasonable notice under the
circumstances. Circumstances may arise that will require us to seek to withdraw from
representation under the Texas Disciplinary Rules of Professional Conduct or other applicable
standards.

        Cost Estimates. I am happy to provide cost estimates at your request. Please note, however,
that given the nature of legal representation, it is not possible to predict such costs precisely.

       Conflicts of Interest and Connections. There are no known conflicts of interest between
Jones Murray and the Trustee with regard to this matter. Therefore, Jones Murray has no
disqualifying conflicts or connections that would prohibit employment as your counsel in this
matter under 11 U.S.C. §327. Any known or discovered connections that must be disclosed
pursuant to Federal Bankruptcy Rule 2014 have been disclosed in the Declaration of Erin E. Jones.
Jones Muray is disinterested within the meaning of the Bankruptcy Code.

         Jones Murray and its attorneys have not discovered any connections that would disqualify
it to represent you in this matter or that would be adverse to you or the Estate. In representing you,
in your capacity as Trustee, we recognize that we may be disqualified from representing any client
in any matter related to our representation of you in this matter. We also recognize that we may be
disqualified from representing any other client in any matter in which confidential information
concerning this matter was shared or made available to us during our representation of you in this
matter, if such information is material or relevant to another matter or in which use or knowledge
of such information could be adverse to the Estate’s interest.

        No Guaranty of Results. As is true with all legal services, we cannot and do not guarantee
the results of our representation. We make no express warranties concerning any matter in which
we represent you, and we disclaim any implied warranties.

        Confidentiality. The Firm is committed to maintaining the confidentiality of the
information we receive from you in the course of this engagement, except as otherwise agreed or
required by law. We retain records relating to the professional services we provide to assist our
clients with their professional needs and, in some cases, to comply with professional guidelines.
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        To guard your nonpublic information, we maintain physical, electronic, and procedural
safeguards that comply with our professional standards. At the end of our representation, please
let us know if you need any documents from our files. We will retain documents for five years and
then destroy them in accordance with our record-retention policy then in effect or as otherwise
instructed by you or ordered by the Court.
        Thank you for the opportunity to represent you as Trustee in this matter. Please confirm
your agreement to the terms of representation, effective June 14, 2024, by countersigning below
and returning a copy to me.


                                                    JONES MURRAY LLP



                                             By:    /s/ Erin E. Jones
                                                    Erin E. Jones, Partner

ACCEPTED AND AGREED:



By:    ________________________________
       Christopher Murray, in his capacity as
       Chapter 7 Trustee for the Bankruptcy Estate of
       Alexander E. Jones, Case No. 22-33553




Required Notice: “The State Bar of Texas investigates and prosecutes professional misconduct
committed by Texas attorneys. Although not every complaint against or dispute with a lawyer
involves professional misconduct, the State Bar’s Office of Chief Disciplinary Counsel will
provide you with information about how to file a complaint. Please call 1-800-932-1900 toll-free
for more information.”
